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 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 SOUTHERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number (if known):                                     Chapter       7                                         amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.   Debtor's name                     Triple J. Services, TX LLC

2.   All other names debtor used
     in the last 8 years

     Include any assumed names,
     trade names and doing
     business as names


3.   Debtor's federal Employer
     Identification Number (EIN)           9      2      –      1      4        0    2         2   7     6

4.   Debtor's address                  Principal place of business                                     Mailing address, if different from principal
                                                                                                       place of business

                                       Triple J. Services, Tx LLC
                                       Number         Street                                           Number     Street
                                       16319 Avenue D
                                                                                                       P.O. Box



                                       Channelview                         TX       77530
                                       City                                State    ZIP Code           City                          State   ZIP Code


                                                                                                       Location of principal assets, if different
                                       Harris                                                          from principal place of business
                                       County



                                                                                                       Number     Street




                                                                                                       City                          State   ZIP Code

5.   Debtor's website (URL)

6.   Type of debtor                            Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify: Construction Company




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Debtor Triple J. Services, TX LLC                                                         Case number (if known)

7.   Describe debtor's business        A. Check one:

                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            None of the above


                                       B. Check all that apply:

                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in
                                            15 U.S.C. § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                       C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes

                                             2      3      6      2

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                         Chapter 7
                                            Chapter 9
     A debtor who is a "small               Chapter 11. Check all that apply:
     business debtor" must check                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
     the first sub-box. A debtor as                         aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     defined in § 1182(1) who elects                        affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
     to proceed under subchapter V                          recent balance sheet, statement of operations, cash-flow statement, and federal
     of chapter 11 (whether or not                          income tax return or if any of these documents do not exist, follow the procedure
     the debtor is a "small business                        in 11 U.S.C. § 1116(1)(B).
     debtor") must check the second
     sub-box.                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                               noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                               less than $7,500,000, AND IT CHOOSES TO PROCEED UNDER SUBCHAPTER V
                                                               OF CHAPTER 11. If this sub-box is selected, attach the most recent balance
                                                               sheet, statement of operations, cash-flow statement, and federal income tax
                                                               return, or if any of these documents do not exist, follow the procedure in
                                                               11 U.S.C. § 1116(1)(B).

                                                               A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                               Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                               form.

                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                               Rule 12b-2.

                                            Chapter 12




Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 2
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Debtor Triple J. Services, TX LLC                                                         Case number (if known)

9.   Were prior bankruptcy                  No
     cases filed by or against
     the debtor within the last 8           Yes. District                                        When                    Case number
     years?                                                                                             MM / DD / YYYY
                                                 District                                        When                    Case number
     If more than 2 cases, attach a
                                                                                                        MM / DD / YYYY
     separate list.
                                                 District                                        When                    Case number
                                                                                                        MM / DD / YYYY

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes. Debtor                                                        Relationship
    affiliate of the debtor?
                                                   District                                                    When
     List all cases. If more than 1,                                                                                          MM / DD / YYYY
     attach a separate list.                       Case number, if known


                                                   Debtor                                                      Relationship

                                                   District                                                    When
                                                                                                                              MM / DD / YYYY
                                                   Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                            Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                            days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                            any other district.

                                            A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                            district.


12. Does the debtor own or                  No
    have possession of any                  Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
    real property or personal                    needed.
    property that needs
                                                 Why does the property need immediate attention?                 (Check all that apply.)
    immediate attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                      safety.
                                                      What is the hazard?

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                      related assets or other options).

                                                      Other


                                                 Where is the property?
                                                                               Number      Street




                                                                               City                                      State        ZIP Code

                                                 Is the property insured?

                                                      No
                                                      Yes. Insurance agency

                                                               Contact name

                                                               Phone


Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 3
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Debtor Triple J. Services, TX LLC                                                        Case number (if known)


              Statistical and adminstrative information
13. Debtor's estimation of             Check one:
    available funds                        Funds will be available for distribution to unsecured creditors.
                                           After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                           creditors.

14. Estimated number of                     1-49                               1,000-5,000                          25,001-50,000
    creditors                               50-99                              5,001-10,000                         50,001-100,000
                                            100-199                            10,001-25,000                        More than 100,000
                                            200-999

15. Estimated assets                        $0-$50,000                         $1,000,001-$10 million               $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million              $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million             $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million            More than $50 billion

16. Estimated liabilities                   $0-$50,000                         $1,000,001-$10 million               $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million              $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million             $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million            More than $50 billion

              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative             this petition.
    of debtor
                                          I have been authorized to file this petition on behalf of the debtor.

                                          I have examined the information in this petition and have a reasonable belief that the information is
                                          true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 07/11/2023
                                                      MM / DD / YYYY



                                          X /s/ Kathleen S. Martin
                                              Signature of authorized representative of debtor
                                              Kathleen S. Martin
                                              Printed name
                                              Managing Director
                                              Title




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Debtor Triple J. Services, TX LLC                                               Case number (if known)

18. Signature of attorney           X /s/ Aaron W. McCardell Sr.                                    Date   07/11/2023
                                       Signature of attorney for debtor                                    MM / DD / YYYY

                                       Aaron W. McCardell Sr.
                                       Printed name
                                       THE MCCARDELL LAW FIRM, PLLC
                                       Firm name
                                       440 Louisiana
                                       Number          Street
                                       Suite 1575

                                       Houston                                              TX              77002
                                       City                                                 State           ZIP Code


                                       (713) 236-8736                                       amccardell@mccardelllaw.com
                                       Contact phone                                        Email address
                                       24120996                                             TX
                                       Bar number                                           State




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 Fill in this information to identify the case:
 Debtor              Triple J. Services, TX LLC

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number                                                                                                   Check if this is an
 (if known)                                                                                                    amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                        12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left.
If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:        List All Creditors with PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
           No. Go to Part 2.
           Yes. Go to line 2.

2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
       If more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim         Priority amount

     2.1   Priority creditor's name and mailing address         As of the petition filing date, the
                                                                claim is: Check all that apply.
                                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:

Date or dates debt was incurred
                                                                Is the claim subject to offset?
                                                                     No
Last 4 digits of account                                             Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)(     )




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page 1
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Debtor        Triple J. Services, TX LLC                                               Case number (if known)

 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If more space is needed for nonpriority unsecured
      claims, fill out and attach the Additional Page of Part 2.
                                                                                                                       Amount of claim

     3.1   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                 $109,000.00
                                                                   Check all that apply.
Advanced Steel Solutions MFG, Inc                                      Contingent
P.O. Box 459                                                           Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Channelview                              TX       77530            Construction Supples

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes


     3.2   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                    $7,777.50
                                                                   Check all that apply.
Budget Ready Mix LLC                                                   Contingent
14915 Market Street                                                    Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Houston                                  TX       77015            Concrete

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes


     3.3   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                    $2,143.36
                                                                   Check all that apply.
Costal Mats                                                            Contingent
P.O. Box 201                                                           Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Channelview                              TX       77530            Supplies

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes


     3.4   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                   $18,405.61
                                                                   Check all that apply.
FSC Supply, LLC                                                        Contingent
P.O. Box 9821                                                          Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Spring                                   TX       77387            Construction Supplies

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                         page 2
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Debtor       Triple J. Services, TX LLC                                             Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

   3.5     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $0.00
                                                                Check all that apply.
Liberty Mutual Insurance Co                                         Contingent
P.O. Box 841843                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75284           Workers Comp

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


   3.6     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $11,669.35
                                                                Check all that apply.
SMYRNA Ready Mix Concrete, LLC                                      Contingent
1701 Royal College RD                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Conroe                                 TX       77304           Concrete

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


   3.7     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $59.27
                                                                Check all that apply.
Star Capital Group                                                  Contingent
891 Cassatt Rd                                                      Unliquidated
                                                                    Disputed
Suite 200
                                                                Basis for the claim:
Berwyn                                 PA       19312           Skid Steer Insurance

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


   3.8     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $43.30
                                                                Check all that apply.
TEX-GAS Welding Supply                                              Contingent
12771 Market St                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77015           Welding Supples

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                     page 3
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Debtor       Triple J. Services, TX LLC                                             Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

   3.9     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $16,578.00
                                                                Check all that apply.
Texas Landscape & Construction                                      Contingent
516 Wallisville RD                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Liberty                                TX       77575           landscaping Srv

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.10     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $33,691.00
                                                                Check all that apply.
White Cap                                                           Contingent
12522 Upland Way                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Baytown                                TX       77523           Construction

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                     page 4
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Debtor      Triple J. Services, TX LLC                                        Case number (if known)

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.

                                                                                                    Total of claim amounts

5a. Total claims from Part 1                                                              5a.                       $0.00

5b. Total claims from Part 2                                                              5b.   +            $199,367.39


5c. Total of Parts 1 and 2                                                                5c.                $199,367.39
    Lines 5a + 5b = 5c.




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                     page 5
